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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

 NETLIST, INC.,

                  Plaintiff,
                                                    Civil Action No. 2:22-cv-00294
       v.
                                                    JURY TRIAL DEMANDED
 MICRON TECHNOLOGY, INC., MICRON
 SEMICONDUCTOR PRODUCTS, INC., AND
 MICRON TECHNOLOGY TEXAS LLC,

                  Defendants.




                               DEFENDANTS’ OPPOSED MOTION TO STAY
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 Exhibit No.                                     Description
     1         Original Complaint, Netlist, Inc. v. Micron Tech., Inc., Dkt. No. 1, Case No.
               1:22-CV-00136 (W.D. Texas).
      2        April 28, 2021 Netlist Letter to Micron
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          I.    INTRODUCTION

        Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron Technology

Texas LLC (collectively, “Micron”) respectfully move the Court to stay this litigation. Netlist, Inc.

(“Netlist”) is asserting patents that relate to an earlier-filed patent infringement case pending in the

Western District of Texas, and Micron has sought leave to add declaratory judgment

noninfringement counterclaims for these patents in that action. The Court should stay the litigation

because the Western District of Texas litigation constitutes the first-filed litigation under the first-

to-file rule, and it is proper for the first-filed court to determine whether to exercise jurisdiction.

        This case is Netlist’s second attempt to split related patents into multiple actions and

judicial districts. Over a year ago, Netlist sued Micron in the Western District of Texas, Waco

Division, contending that Micron infringes certain alleged standard essential buffered memory

module patents (“Netlist Case 1”).1 Micron counterclaimed, seeking judgments of

noninfringement, invalidity, and standard-required RAND terms.2 Netlist later stipulated to

transferring the case to the Austin Division, and the case was ultimately stayed pending resolution

of inter partes review (“IPR”) proceedings.3

        Apparently unhappy with its stipulated venue choice, Netlist filed two additional cases in

the present District against Micron: Netlist, Inc. v Micron Tech, Inc., No. 2:22-cv-00203 (E.D.

Texas) (“Netlist Case 2”) and the above-captioned action (“Netlist Case 3”). Both cases assert

patents that relate to, or are materially similar to, the asserted alleged standard essential buffered

memory patents at issue in Netlist Case 1. These two new litigations are blatant attempts at forum




1
  Netlist, Inc. v. Micron Tech., Inc., Western District of Texas Case No. 6:21-cv-431, transferred
from the Waco to the Austin Division as 1:22-cv-136.
2
  Netlist Case 1, Dkt. No. 19.
3
  Netlist Case 1, Dkt. No. 69.
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shopping to end-run the stay issued by the Austin Court. These two new cases also create

substantial inefficiencies for the litigants and the judiciary, as they involve substantial overlapping

issues split into multiple actions across two judicial districts.

        The overlap between Netlist Cases 1-3 is substantial. The cases implicate the same, or

materially similar, standard-essential RAND issues for buffered memory products, accused

Micron products and relevant Micron witnesses, common inventors, shared patent specifications,

and overlapping questions of damages and enforceability. These similarities, and others,

necessarily involve overlapping discovery, damages, and liability issues. Thus, in the interest of

judicial efficiency, comity, and decreasing the parties’ overall litigation expenses, Micron has

requested leave from the Austin Court to add counterclaims addressing the substantially similar

patents from Netlist Case 24 and all the patents from the present Netlist Case 3 litigation.5 That

motion is currently pending before the Austin Court.

        Micron accordingly requests that this Court enter an order staying the litigation until the

Court in the first-filed Austin case resolves Micron’s motion for leave to add counterclaims. Doing

so will serve the interests of judicial economy and comity that underpin the first-to-file rule.

         II.    STATEMENT OF FACTS

                Netlist First Filed in the Western District of Texas, Waco Division, and Agreed
                to Transfer those Disputes to the Austin Division.

        On April 8, 2021, Netlist filed a complaint for patent infringement in the Western District

of Texas, Waco Division. See Ex. 1 (Netlist Case 1 complaint). Netlist accused Micron’s DDR4

Load Reduced Dual In-Line Memory Modules (“LRDIMMs”) of allegedly infringing three Netlist



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  With respect to Netlist Case 2, Micron sought leave to add declaratory judgment noninfringement
counterclaims for four of the six asserted patents. Micron also filed a motion to sever and stay
those patents from Netlist Case 2. Netlist Case 2, Dkt. No. 28.
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  Netlist Case 3, Dkt. No. 11.
                                                   2
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patents: U.S. Patent Nos. 10,489,314 (the “’314 patent”); 9,824,035 (the “’035 patent”); and

10,268,608 (the “’608 patent”) (collectively, the “Austin Patents”). Id., ¶¶ 7, 40, 43, 74, 105.

Netlist alleges that these patents are essential to various DDR4 memory module standards

promulgated by the Joint Electron Device Engineering Counsel ( “JEDEC”). Id., ¶ 2. Micron filed

an answer and counterclaims seeking declaratory judgment to resolve infringement, validity, and

(if needed) appropriate standard-required RAND licensing terms. Netlist Case 1, Dkt. No. 19.

       Micron moved to transfer the case to a more convenient forum: either the District of Idaho

or alternatively the Western District’s Austin Division. Netlist Case 1, Dkt. No. 32. Netlist

stipulated to transfer to the Austin Division. Netlist Case 1, Dkt. No. 43. Judge Alan D Albright

transferred the case to the Austin Division on February 14, 2022. Netlist Case 1, Dkt. No. 45.

               Netlist Filed the Second-Filed Action in this Court Immediately after
               Receiving an Adverse Ruling in Austin, Despite Substantial Overlap between
               the Asserted Patents and the Accused Products.

       Having identified invalidating prior art, Micron filed petitions for inter partes review of

the Austin Patents. On May 11, 2022, the Austin Court stayed the case pending the PTAB acting

on Micron’s inter partes review petitions. Netlist Case 1, Dkt. No. 69.6 Netlist filed Netlist Case 2

less than a month later, on June 10, 2022. Netlist Case 2, Dkt. No. 1. Netlist never moved for leave

to add the overlapping patents from Netlist Case 2 to the existing Austin litigation, despite

choosing the Western District as the forum for its allegedly standard essential buffered memory

patents dispute and despite stipulating to adjudication in the Austin Division.

       Given the substantial overlap between the first-filed Netlist Case 1 (Austin) and the

overlapping patent infringement allegations in Netlist Case 2 (Marshall), Micron has requested



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  On July 19, 2022, the Patent Trial and Appeal Board instituted proceedings for the ’035 patent
(IPR2022-00236) and declined to institute proceedings for the ’608 patent (IPR2022-00237).
Micron has requested rehearing of the denial.
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leave to address the overlapping patents through amended counterclaims. Netlist Case 1, Dkt.

No. 72. Micron also has moved this Court to sever and stay proceedings regarding the overlapping

patents from Netlist Case 2 while the Austin Court determines whether it will exercise its

jurisdiction over those issues. Netlist Case 2, Dkt. No. 28.

                  Netlist Filed This Third-Filed Case in the Eastern District Despite Substantial
                  Overlap with the First-Filed Case in Austin.

          Netlist filed Netlist Case 3 in this District although the patents all relate to a patent in Netlist

Case 1. Netlist’s asserted U.S. Patent Nos. 11,093,417 (the “’417 patent”) and 9,858,215 (the “’215

patent”) are in the direct continuation line with the ’314 patent asserted in Netlist Case 1. Netlist’s

asserted U.S. Patent No. 7,619,912 (the “’912 patent”) similarly claims priority to the same

provisional and non-provisional applications as the ’314 patent in Netlist Case 1. Netlist Case 3,

Dkt. No. 11 ¶ 22; Ex. 1 at ¶ 22.

          Netlist’s allegations for the patents in Netlist Cases 1 and 3 are also substantially similar.

Netlist alleges that the patents in Netlist Case 3 are standard-essential buffered memory patents.

Dkt. No. 11 at ¶¶ 18, 45-50, 57-63. Indeed, Netlist identified the ’912 and ’215 patents,7 and the

other patents asserted in Netlist Case 1, all together in a letter that pre-dated the filing of Netlist

Case 1. Ex. 2, April 28, 2021, letter. Netlist also accuses the same products in Netlist Cases 1 and

3: Micron’s DDR4 LRDIMMs products. Compare Dkt. No. 11 at ¶¶ 9, 37, 39, 41, 55 with

Ex. 1 ¶¶ 7, 40, 43, 74, 105.




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    The asserted ’415 patent issued after this letter was sent.
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        III.   LEGAL STANDARD

               First to File

       Under the first-to-file rule, a dispute should be resolved in the forum that first seized

jurisdiction over the subject matter. See RPost Holdings, Inc. v. Sophos, Inc., No. 2:13-CV-959,

2014 WL 10209205, at *1 (E.D. Tex. Aug. 20, 2014). This is true even when then first-filed case

is a declaratory judgment action. See id. Determining whether to apply the first-to-file rule requires

resolving two questions: “1) are the two pending actions so duplicative or involve substantially

similar issues that one court should decide the subject matter of both actions; and 2) which of the

two courts should take the case?” Id. (quoting Texas Instruments, Inc. v. Micron Semiconductor,

Inc., 815 F. Supp. 994, 997 (E.D. Tex. 1993)).

       If “two pending actions involve substantially similar issues,” the second-filed court should

“decline[] to resolve the question of which of the two courts should proceed” because “it is not the

second-filed court’s position to determine the appropriate venue.” Virtual Fleet Mgmt., LLC v.

Position Logic, LLC, No. 2:17-CV-00014-JRG, 2017 WL 10276708, at *2 (E.D. Tex. May 17,

2017) (Gilstrap, J.); see also Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 605 (5th Cir.

1999) (“Once the likelihood of a substantial overlap between the two suits ha[s] been

demonstrated, it [is] was no longer up to the [second filed court] to resolve the question of whether

both should be allowed to proceed.” (quoting Mann Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 408

(5th Cir. 1971))). Thus, when two actions involve substantially similar issues, the second-filed

court should either dismiss, transfer, or stay—a stay is particularly appropriate when necessary to

allow the first-filed court to determine whether it should adjudicate both cases. See W. Gulf Mar.

Ass'n v. ILA Deep Sea Loc. 24, S. Atl. & Gulf Coast Dist. of ILA, AFL-CIO, 751 F.2d 721, 729 n.1

(5th Cir. 1985) (remanding case for entry of an order of stay, transfer, or dismissal).



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        IV.    ARGUMENT

       Staying this case will best serve judicial efficiency and comity. Under the first-to-file rule,

when two cases involve substantially similar issues, a stay is appropriate in the second-filed court

to allow the first-filed court an opportunity to decide whether to exercise jurisdiction over the

subject matter of the later action. Virtual Fleet Mgmt., 2017 WL 10276708, at *2; W. Gulf Mar.

Ass'n, 751 F.2d at 729 n.1.

               Netlist’s Allegations Regarding the Asserted Patents Are Substantially Similar
               to Issues Already Pending in the Western District.

       Patent-infringement cases are substantially similar even when they involve different

patents if the cases involve the same parties, patents covering similar technologies, and the same

accused products. This Court concluded as much under similar circumstances in Aventis

Pharmaceuticals Inc. v. Teva Pharmaceuticals USA Inc., No. 2:06-CV-469, 2007 WL 2823296,

at *2 (E.D. Tex. Sept. 27, 2007). In Aventis, the patentee, Aventis, filed an infringement action in

this District alleging that Teva infringed claims in two patents related to the pharmaceutical

compound fexofenadine. Id. at *1. Aventis, however, previously asserted other fexofenadine-

related claims from different patents against Teva in New Jersey. Id. Both cases involved the same

accused products—though Teva argued that the claims asserted in this District related to “distinct

inventions from those involved in the New Jersey actions.” Id. at *1–2. Aventis filed its Texas

action shortly after an adverse ruling in the New Jersey actions. See id. at *2 (“In short, it appears

that Aventis filed suit in this forum because it was disappointed with Judge Greenaway’s ruling

on the motion for preliminary injunction.”). Under those circumstances, this Court determined that

applying the first-to-file rule was appropriate because the new case and the prior New Jersey cases

were substantially similar. Id. at *2.




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       The Aventis reasoning applies equally here. The parties—Netlist, Inc., Micron Technology,

Inc., Micron Semiconductor Products, Inc., and Micron Technology Texas LLC—are the same in

both cases. Dkt. No. 1; Ex. 1. The Micron memory modules at issue in both sets of claims

substantially overlap. In Netlist Case 1, Netlist accuses Micron’s DDR4 LRDIMM products of

infringing its alleged standard-essential buffered memory module patents. See Ex. 1 ¶¶ 7, 40, 43,

74, 105. In the present case, Netlist accuses the same (or similar) DIMM products of infringing

the asserted patents. See Dkt. No. 11 ¶¶ 9, 37, 39, 41, 55.

       Substantial overlap also exists in the underlying technology at issue in both proceedings.

For example, all the patents relate to the same DIMM technology. The asserted ’417 and ’215

patents are in a direct continuation chain with the ’314 patent asserted in Netlist Case 1; and the

asserted ’912 patent claims priority to the same provisional and non-provisional applications as

the ’314 patent. The patents in both cases accordingly share similar disclosures and present

overlapping issues of claim construction, priority, and validity. Likewise, both cases implicate

overlapping issues of alleged infringement as the JEDEC standard underpins Netlist’s allegations

in both forums. See, e.g., Dkt. No. 11 ¶¶ 5,7, 59, 61–63; Ex. 1 ¶¶ 2, 27.

       The allegations also implicate common issues of damages and licensing since they

implicate sales of the same Micron DIMM products and RAND licensing obligations, such that

discovery relating to Netlist’s allegations will cover substantially similar issues. See, e.g., Ex. 1,

¶¶ 2, 94. Both actions also cite the same JEDEC standards that allegedly show how the accused

products practice the claimed features. Compare Ex. 1 ¶¶ 60 (citing JEDEC Standard No. 82-32A

(August 2019) at 13-14), 83 (same), 84 (same) 88 (same), 113 (same) with Dkt. No. 11 ¶¶ 57, 59,

61–63. Given the above similarities, which include significantly more overlap than was present in




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Aventis, substantial similarity exists between the issues here regarding the asserted patents in

Netlist Cases 1 and 3, such that the first-to-file rule should apply.

               Given the Substantial Overlap, the Western District as the First-Filed Court
               Should Determine Where the Asserted Patent Claims Proceed.

       As in Aventis, it appears that Netlist brought the asserted patents in this District (and in

Netlist Case 2) because it was disappointed with Austin Court’s decision to stay the Netlist Case 1

proceedings pending Micron’s IPRs. This is not an appropriate basis to deprive the Austin Court

of jurisdiction. Instead, under the first-filed rule, the Austin Court as the first-filed Court should

decide whether it will adjudicate Netlist’s allegations regarding the substantially similar and

related patents. See Virtual Fleet Mgmt., 2017 WL 10276708, at *2. Micron thus has moved for

leave to add the asserted patents to Netlist Case 1 through amended counterclaims. If the Austin

Court grants leave, the amendment will relate back to the filing of the original counterclaims in

the Western District action, taking precedence over Netlist’s later filing here. See Fed. R. Civ. P.

15(c)(1)(B) (“An amendment to a pleading relates back to the date of the original pleading

when: . . . (B) the amendment asserts a claim or defense that arose out of the conduct, transaction,

or occurrence set out—or attempted to be set out—in the original pleading.”).

       Micron thus respectfully requests this Court enter a stay pending the Austin Court’s

decision on whether to adjudicate this dispute. See W. Gulf Mar. Ass’n, 751 F.2d at 729 n.1 (noting

stay is appropriate while first-filed court determines where action should be adjudicated).

         V.    CONCLUSION

       For the reasons set forth above, Micron requests that the Court stay the litigation until the

Austin Court as the first-filed court decides which forum should adjudicate those claims.




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       Dated: September 12, 2022           Respectfully submitted,


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                                   CERTIFICATE OF SERVICE


        The undersigned certifies that on this 12th day of September 2022 the foregoing document

was electronically filed with the Clerk of Court using the Court’s CM/ECF system, which will send

notification of such filing to all counsel of record, including counsel of record for Plaintiff Netlist.



                                                          /s/ Michael Rueckheim
                                                          Michael Rueckheim




                                    CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(h) and (i),Micron certifies that Micron informed Plaintiff of

Micron’s intent to move to stay and Plaintiff responded that it opposed the motion.



                                                          /s/ Michael Rueckheim
                                                          Michael Rueckheim




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